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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                 Eastern Division

Glen Ellyn Pharmacy, Inc.
                                    Plaintiff,
v.                                                       Case No.: 1:11−cv−07329
                                                         Honorable Ruben Castillo
ScriptPro, LLC, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 26, 2012:


        MINUTE entry before Honorable Ruben Castillo:The Order entered earlier today
by this Court is stricken. Counsel notified the Court that the parties have reached a
tentative settlement. The parties are to finalize the settlement and submit a stipulation or
appropriate settlement documents dismissing this lawsuit. Status hearings set for 2/2/2012
and 2/29/2012 are vacated. Briefing on the motion for class certification is stayed.Mailed
notice(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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